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IN THE UNITED STATES DISTRICT COURTFOR THE DISTRICT OF COLUMBIA



                                                  )

 UNITED STATES OF AMERICA,                        )

                       v.                         )         Case No. 1:22-cr-00015-APM

 KELLY MEGGS, JESSICA WATKINS,                    )
 STEWART RHODES, KEN
 HARRELSON AND THOMAS                             )
 CALDWELL
                                                  )
                 Defendants.

                      SUPPLEMENT AND RENEWED
                   JOINT MOTION TO TRANSFER VENUE

        COMES NOW, Defendants, Kelly Meggs, Stewart Rhodes, Jessica Watkins, Ken Harrelson

and Thomas Caldwell, jointly, by undersigned counsel, and respectfully submit this Motion and

Memorandum of Points and Authorities, as a Renewed Motion to Change Venue, based on new

evidence, pursuant to Federal Rule of Criminal Procedure 21(a), for Prejudice, to seek a transfer of

venue, and request the Western District of Virginia where Mr. Caldwell resides, or in the

alternative, the Eastern District, or other courts that the court may suggest, so that they may be tried

by an impartial jury as guaranteed by the Fifth and Sixth Amendments to the United States

Constitution.

   I.      The D.C. jury pool is prejudiced against the Oath Keepers.

        Previously Defendants produced three (3) commissioned surveys, including one

commissioned by the Federal Public Defenders, showing the prejudgment bias in the jurisdiction.

(ECF 193, filed July 18, 2022, Exhibits A-C). Exhibit A to ECF 193, the Comparative Multi-

District Survey in support of the Motion to Transfer Venue, specifically found how the District

stands apart from the three comparative jurisdictions, the Eastern District of Virginia, the Eastern

District of North Carolina, and the Northern District of Florida in multiple responses, which

showed key differences between the DC Community and other Test Areas. (Id. at p. 2).
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        In the earlier cited studies, DC results showed responses as an outlier relative to the three

(3) comparative jurisdictions as the Comparative Multi-District Survey, as set forth in our Renewed

Motion for Change of Venue, ECF 339. The court denied ECF 339, in short, finding it premature

because voir dire had not completed. Defendants had based that motion on the results of the

Agreed Juror Questionnaire. See Id. Defendants argued that those results showed that 51% claim

in could be fair. (Id.)

        The latent bias is obvious in this jurisdiction where in the same study in which respondents

reported that 71 % of DC would find January 6th defendants guilty of crimes, or 71.17% who

believe all who entered the U.S. Capitol planned in advance to enter the Capitol that day, also felt

that they could still be fair, findings that make it clear a fair and impartial jury is not possible.

        The Rhodes actual voir dire reflected findings that were consistent with both studies

previously cited and the responses on the Jury Questionnaire show more than 51% admit to

prejudgment bias and many who lived, worked near the Capitol, or had a concern for their safety

on January 6, 2021.

        This court brought in 94 people on voir dire before the court could find a panel of 47 people

who were arguably eligible, after for cause dismissals primarily for bias, with a handful of those

struck for unavailability. Of the 47 arguably qualified prospective jurors, the court found that they

could speak dispassionately on the issues of January 6th, but nevertheless heard testimonials from

these subsequently qualified prospective jurors disclosing:

            •   “vivid memories of that day” and described the school on the hill she worked at

                near the Capitol and the close friend who died by suicide, who’s death she attributed

                to the events of January 6, nevertheless qualified.

            •   that it was a tough day, he ‘was close to capitol,’ ‘his kid was in school down the

                street from capitol,’ and he ‘worried about people attacking houses.’


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           •   he had ‘strong opinions about aspects of j6’, was very afraid, people coming from

               out of town, carrying big weapons, "here on 9/11," ‘scared to walk home,’ that he

               ‘cried all night, like watching 9/11 on TV,’ that so did ‘his close friends that worked

               at Capitol,’ that ‘he had worked on house floor, and had worked there for years.’

           •   ” “yes” to question 47, that she could not be fair and impartial with the Oath

               Keepers, but then testified in response to the judge, that she initially thought she

               could not be fair or impartial because she thought it was about the organization.

           •   that the person “worked for house for 12 years,” ‘works as a lobbyist including in

               the House,’ and ‘lives a few blocks from capitol,” and “spoke with people in the

               House about that day.”

           •   that she lived a block from the Capitol, and that it was ‘very impactful that it

               happened where she lived.’

           •   that he “read many articles about the insurrection and has many feelings about the

               attack” but was found to be able to be fair and impartial.

       Permitting these biased persons, among others, in the 47 arguably qualified jurors, helped

absorb the Defendants peremptory challenges. Despite the court’s hard work to find neutral and

dispassionate jurors who could follow the presumption of innocence, the burden for many

prospective jurors who testified explained that if the defendants could show that they did not do it,

they would listen, but under American jurisprudence, as this court knows, the burden is not on the

defendants to prove their innocence. Of the 72 defendants identified on Defendants objection list

for bias, five (5) are now on the jury.

       Media reports that followed,

             "Perhaps the clearest divide between Mehta and the defense attorneys
       emerged over the case of a civilian Pentagon employee who described the Oath
       Keepers as “anti-democracy.” The man said he had a close friend who used to work
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        in the House — prior to Jan. 6 — and who had shared personal stories with him of
        those who lived through the day. He expressed strong views about gun possession and
        said he would have trouble separating those views if he learned the Oath Keepers
        carried firearms. But he added that he would view the matter differently if the
        evidence showed they had left any weapons outside of Washington D.C.
        The man said he viewed Trump as responsible for the events of Jan. 6, with significant
        contributions by the Oath Keepers and Proud Boys, but he emphasized that he had
        friends who are or have been Trump supporters."

Politico: "The most high-profile Jan. 6 trial has the most D.C. jury selection process possible."

                "Civil Rights Attorney David Henderson and NBC’s Ryan Reilly and Ben
        Collins join Andrea Mitchell amid jury selection in the Oath Keepers seditious
        conspiracy trial. “It's not jury selection. It's jury de-selection. You're not picking who
        should serve. You're picking who shouldn't serve,” Henderson explains. “Based on
        what we know already, the Oath Keepers have already lost this trial because they've
        lost jury selection.”

MSNBC: David Henderson: ‘The Oath Keepers have already lost this trial because they've lost jury
selection’

               "The question is whether they could set aside their feelings and be impartial
        when they hear evidence in this case. We had prospective jurors who talked about
        trauma they experienced on January 6. I felt like they invaded my house, one man
        said."

NPR: Jury selection is underway in the Jan. 6 riot trial of Oath Keepers members

                "The court already had dismissed more than two dozen potential jurors
        before Tuesday, including a journalist who had covered the events of Jan. 6. and
        someone else who described that day “one of the single most treasonous acts in the
        history of this country.”
        The judge disqualified three additional jurors Tuesday based on concerns about their
        impartiality. One man recalled the fear and “trauma” that he experienced on Jan. 6.
        Mehta also disqualified a woman who said she used to work as a House staffer on
        Capitol Hill and still has many friends who work there.
        “I was really afraid for their lives that day,” she said.
        Phillip Linder, an attorney for Rhodes, urged the judge to disqualify a man who said
        he has a close family friend who works for a House member and recalled watching
        livestreamed video of the Capitol attack. The judge called it a “close call” but
        declined to disqualify the man who said he could set aside what he has heard about
        the Oath Keepers."

PBS: Sedition trial begins for Oath Keepers leader

        "One District of Columbia resident was angry at the threat the rioters posed to his two
        young children, saying, “I felt like they invaded my home.”

        Another said that the violent scene brought tears to his eyes. Several recalled feeling
        worried for friends or colleagues who might have been in harm’s way."

Huffington Post: Oath Keepers' Seditious Conspiracy Trial Kicks Off With Jury Selection
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       "To the extent that defense lawyers — who have repeatedly asserted that a D.C. jury
       wouldn’t be fair — anticipated a cavalcade of Washington residents hostile to their
       clients on Tuesday, some jurors didn’t disappoint.
       “There weren’t many protests I didn’t attend in Washington, D.C. during the Trump
       administration, inauguration day,” the first would-be juror explained when asked to
       expand upon his affirmative response to a question about whether he had attended
       any rallies or protests in the past five years. The juror also said that he felt fear for
       the country as he watched the chaos unfold that day and compared it to the Sept. 11,
       2001 terrorist attacks on the World Trade Center in New York and the Pentagon in
       Washington.
       Mehta dismissed him from the jury pool.

       “I strongly believe [Jan. 6] was an insurrection led by right-wingers to reverse a free
       and fair election,” another potential juror said, before telling Mehta she did not
       believe she’d be able to put her personal beliefs aside. She was also dismissed from
       the jury pool.
       “I live in Washington, D.C., and this is my home, and I feel like they invaded my
       home,” another juror said before Mehta dismissed him.

       “I would be fair, but it would be difficult,” one would-be juror who had attended
       rallies in support of upholding abortion rights established in Roe v. Wade said when
       asked if she felt she could be impartial in judging people who may have different
       political views from her. “I believe some political parties are unfair. I tend to think
       that they are racist, and I am a Black woman.”
       Moments later, she made her views even clearer, using the phrase “neo Nazis” to
       describe people who attend Trump rallies."

Law and Crime: ‘I Would Be Fair, But It Would Be Difficult’: Jury Selection Starts in Oath Keepers Jan. 6
Seditious Conspiracy Trial


       b.      The Current Jury Panel

       Now that voir dire is complete, we can show that Defendants argued that the initial panel of

151 people shows over 51% admitting to prejudgment bias, under oath. (See Joint Submission by

the parties.) The numbers ended up being consistent with Defendants previous arguments. The

court reached 94 people before finding 47 deemed “qualified.” This is close to the 50% and it

should be noted that there were people testifying to feeling personally impacted on 1/6 who were

not dismissed for cause; and Defendants can show that the court struck 30 of 47 on Defendants

strike list, finding 17 of those who responded affirmatively in the questionnaire to a bias question

including Q22, to be “qualified.”


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        The questions 11, 17, 47, 49 that reflect admitted bias under oath:

        Q. 11: Is there anything about you that the Court should know that might affect
        your ability to be a fair and impartial juror in this case?
        Q17: Do you have such strong feelings about firearms or the laws concerning
        firearms that would make it difficult to be a fair and impartial juror in this case?
        Q. 47: Have you read, seen, or heard anything about the "Oath Keepers"
        organization that would affect your ability to be a fair and impartial juror in this
        case?
        Q. 49: Have you read, seen, or heard anything about the defendants-Elmer Stewart
        Rhodes III, Kelly Meggs, Kenneth Harrelson, Jessica Watkins, or Thomas Caldwell
        that would affect your ability to be a fair and impartial juror in this case?

        and

        Q. 22: Did you have a concern for the safety of yourself, a close friend, or family
        member on January 6, 2021?” (Juror Questionnaire, Q 22)

        These responses, without the same granularity of the questions in the Comparative Multi-

District Survey, (Ex. A, ECF 193), and not counting Q. 46 “Have you read, seen, or heard about

any allegations regarding the Oath Keepers in this case?” or Q48, “Have you read, seen, or heard

about any allegations regarding the defendants-Elmer Stewart Rhodes III, Kelly Meggs, Kenneth

Harrelson, Jessica Watkins, or Thomas Caldwell-in this case?” (Juror Questionnaire, Q 48),

reflect express bias that will be prejudicial despite best efforts.

        And while the court has been strict in its instructions not to pay attention to further news,

the likelihood that the well-read population among the jury panel of Washington DC will continue

to adhere to this instruction and has not already been deleteriously affected by local media is also

highly unlikely.

        Defendants incorporate their prior legal argument and statements set forth in ECF 339, and

will not restate that herein. Defendants only reiterate their rights to a guarantee of an impartial

jury. ‘The Supreme Court has stressed repeatedly that the touchstone of the guarantee of an

impartial jury is a protection against juror bias.’ United States v. Boney, 977 F.2d 624, 633 (D.C.

Cir. 1992)( the D.C. Circuit remanded the case for an evidentiary hearing where one juror lied

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about his felony conviction.) Accordingly, the defendants previously moved that the Court move

the case eight miles from D.C. to the U.S. District Court for the Eastern District of Virginia

(“EDVA”) for the convenience of the government and the court, but now expressly request the

Western District of Virginia where Mr. Caldwell resides – or in the alternative, the Eastern District,

or other courts that the court may suggest in order to ensure a fair trial.

                                       Respectfully submitted,

                                       By Counsel:


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       Counsel for Kelly Meggs, and *authorized to sign for Jonathan Crisp for Jessica Watkins,
Phil Linder for Stewart Rhodes, Brad Geyer for Ken Harrelson and David Fischer for Thomas
Caldwell.

                                  Certificate of Electronic Service

       I hereby certify that on October 2, 2022, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF System, with consequent service on all parties of record.



                                       /s/ Juli Z. Haller
                                       Juli Z. Haller, DC 466921




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